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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )       Dated: April 4, 2022
        Defendant.                             )
                                               )

                                             ORDER
       The Court has scheduled a hearing on Defendant’s pre-trial motions in the above-captioned
matter, to be held on April 14, 2022, at 2:00 p.m. Eastern Time, in Courtroom 5C of the
Edward A. Garmatz Building, 101 West Lombard Street, Baltimore, Maryland 21201. The
parties shall adhere to the following time allocations for their oral arguments:

       1. Opening arguments, 20 minutes each for the Government and Defense;

       2. Responses, 15 minutes each for the Government and Defense; and

       3. Rebuttal, 10 minutes each for the Government and Defense.

       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
